Case 1:21-cr-00361-LKG Document11 Filed 09/15/21 Page 1of5

KSC/09.14 tee
09.14.21 ED . t0. i Sisct SORT
L BIS TREC, CF oe aay

ICM/DLT: USAO2021R00538 ‘
M2SEP AS Pi; 5]
IN THE UNITED STATES DISTRICT COURT _
FOR THE DISTRICT OF MARYLAND “ee o Cee Ive TE

  

ALT i a ion iE
UNITED STATES OF AMERICA ay “Tt .
*  CRIMINALNO. [iF Spe ie \
v. 7
= (Conspiracy to Distribute and Possess
GERROD DAVIS, and me With Intent to Distribute Cocaine and
MARCEL HALL, * Cocaine Base, 21 U.S.C. § 846;
ce Possession With Intent to Distribute
Defendants. a Cocaine Base, 21 U.S.C. § 841; Aiding
s and Abetting, 18 U.S.C. § 2; Forfeiture,
a 21 U.S.C. § 853; 18 U.S.C. § 2461; Fed.
R. Crim. P. 32.2(a))
*
*
*
Reka ERE
INDICTMENT
COUNT ONE

(Conspiracy to Distribute and Possess With Intent to Distribute Cocaine Base)
The Grand Jury for the District of Maryland charges that:
Beginning in or about July 2020, and continuing through in or about September 2021, in

the District of Maryland, the defendants,

GERROD DAVIS and
MARCEL HALL,

did knowingly and willfully combine, conspire, confederate, and agree with others known and
unknown to the Grand Jury to knowingly, intentionally, and unlawfully distribute and possess with
intent to distribute cocaine, a Schedule II controlled substance, and cocaine base, a Schedule II

controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1).
Case 1:21-cr-00361-LKG Document11 Filed 09/15/21 Page 2 of5

Quantity of Controlled Substances Involved in the Conspiracy

With respect to GERROD DAVIS, the amount involved in the conspiracy attributable to
him as a result of his own conduct, and the conduct of other conspirators reasonably foreseeable
to him, is five kilograms or more of a mixture or substance containing a detectable amount of
cocaine and 280 grams or more of a mixture and substance containing a detectable amount of
cocaine base pursuant to 21 U.S.C. § 841(b)0 (A) (iii).

With respect to MARCEL HALL, the amount involved in the conspiracy attributable to
him as a result of his own conduct, and the conduct of other conspirators reasonably foreseeable
to him, is a mixture or substance containing a detectable amount of cocaine and 280 grams or more .
of a mixture and substance containing a detectable amount of cocaine base pursuant to 21 U.S.C.
§ 841 (b)(1)(A) Gi).

21 U.S.C. § 846
18 U.S.C. §2
Case 1:21-cr-00361-LKG Document11 Filed 09/15/21 Page 3o0f5

COUNT TWO
(Possession With Intent to Distribute Cocaine Base)

The Grand Jury for the District of Maryland further charges that:
On or about September 1, 2021, in the District of Maryland, the defendant,
MARCEL HALL,
did knowingly, intentionally and unlawfully possess with intent to distribute 280 grams or more

of a mixture or substance containing a detectable amount of cocaine base, a Schedule I] controlled

substance.

21 U.S.C. § 841(a)(1)
18 U.S.C. §2
Case 1:21-cr-00361-LKG Document11 Filed 09/15/21 Page 4 of 5

FORFEITURE ALLEGATION

The Grand Jury for the District of Maryland further finds that:

dl. Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the Defendant(s) that
the United States will seek forfeiture as part of any sentence in accordance with 28 U.S.C. §
2461(c) and the other statutes cited herein, in the event of the Defendant(s)’ conviction(s).

Narcotics Forfeiture

2, Pursuant to 21 U.S.C. § 853(a), upon conviction of an offense in violation of the
Controlled Substances Act, as alleged in the Narcotics Count(s), the Defendant(s) convicted of
such offense(s), shall forfeit to tf United States of America:

a. any property constituting, or derived from, any proceeds obtained, directly or
indirectly, as a result of such offense(s); and
b. any property used, or intended to be used, in any manner or part, to commit, or
facilitate the commission of, such offense(s).
Substitute Assets
3. Pursuant to Title 21, United States Code, Section 853(p), if any of the property
described above as being subject to forfeiture, as a result of any act or omission by the defendants:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third person;
c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
e. has been comingled with other property which cannot be subdivided without
difficulty,
it is the intent of the United States to seek forfeiture of any other property of the defendants up to

the value of the property charged with forfeiture in the paragraphs above.
4
Case 1:21-cr-00361-LKG Document11 Filed 09/15/21 Page 5of5

Property Subject to Forfeiture
4, The property to be forfeited includes, but is not limited to, the following:

a. Approximately $92,969.00 in U.S. currency seized from 7568 Stonehouse kW
Drive, Glen Burnie, Maryland, during the execution of a search warrant on or

about September 1, 2021;
Run Gem

b. four Apple iPhones and chargers seized from 7568 Stonehouse,Drive, Glen
Burnie, Maryland; and

c. one Apple iPhone and charger seized from 1163 Punjab Drive, Essex,
Maryland, during the execution of a search warrant on or about September 1,

2021.
21 U.S.C. § 853

18 U.S.C. § 2461
Fed. R. Crim. P. 32.2(a)

Jmathan F. Lenanare | fn

Jonathan F. Lenzner
Acting United States Attorney

A TRUE BILL:

SIGNATURE REDACTED
FORtSE

Date oojs/ 222/
( /
